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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


 District of Columbia,

                       Plaintiff,               Case No. 1:21-cv-03267

      v.


 Proud Boys International, LLC, et al.

                       Defendants.




                            Motion for Leave to Withdraw

      Pursuant to LCvR 83.6, undersigned counsel, Amy L. Bradley, with the consent of

Defendant Christopher Kuehne, hereby moves for leave to withdraw as counsel for Mr.

Kuehne in the above referenced matter and in support thereof states as follows:

      1) Mr. Kuehne will continue to be represented by William T. DeVinney and the

           law firm of BrigliaHundley, P.C.

      2) Undersigned and Mr. Kuehne consent to the relief requested as evidenced by

           Mr. Kuehne’s signature below.



Dated: April 7, 2023                           Respectfully Submitted,
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                             Certificate of Service

I certify that on April 18, 2023, I caused this Motion for Leave to Withdraw to be

      served by the Court’s electronic filing system to all parties of record.



                                                   /s/ Amy L. Bradley
